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 8
                                       UNITED STATES DISTRICT COURT
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                                       EASTERN DISTRICT OF CALIFORNIA
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     ANGEL RUIZ,                                       Case No. 1:20-cv-01100-EPG (PC)
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                          Plaintiff,                   ORDER DENYING PLAINTIFF’S MOTION
13                                                     FOR APPOINTMENT OF PRO BONO
               v.                                      COUNSEL, WITHOUT PREJUDICE
14
     JUNIOR FORTUNE, et al.,                           (ECF No. 17)
15                                                     ORDER GRANTING PLAINTIFF’S MOTION
                          Defendants.                  FOR EXTENSION OF TIME TO RESPOND
16                                                     TO SCREENING ORDER
17                                                     (ECF No. 18)
18

19             Angel Ruiz (“Plaintiff”) is a state prisoner proceeding pro se and in forma pauperis in this
20   action.
21             On November 4, 2020, Plaintiff filed a letter. (ECF No. 14). In the letter, Plaintiff stated
22   that, due to the COVID-19 pandemic, he has not been able to successfully put together an
23   amended response to the Court’s screening order. Plaintiff asked for appointment of counsel
24   because he has no help and lacks the legal knowledge to pursue this action.
25             The Court denied Plaintiff’s motion for appointment pro bono counsel, but granted
26   Plaintiff thirty days to respond to the screening order. (ECF No. 15).
27             On December 17, 2020, Plaintiff filed another motion for appointment of pro bono
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 1   counsel (ECF No. 17), and a motion for a sixty-day extension of time to respond to the screening

 2   order (ECF No. 18).

 3          When denying the previous motion for appointment of pro bono counsel, the Court told

 4   Plaintiff that he could renew the motion “at a later stage of the proceedings.” (ECF No. 15, p. 2).

 5   This is not a later stage of the proceeding. Moreover, there has not been any material change in

 6   this case since Plaintiff’s last motion for appointment of pro bono counsel. Accordingly, for the

 7   reasons stated in the Court’s prior order denying Plaintiff’s motion for appointment of pro bono

 8   counsel (ECF No. 15), Plaintiff’s motion for appointment of pro bono counsel filed on December

 9   17, 2020 (ECF No. 17), will be denied, without prejudice to Plaintiff renewing the motion at a

10   later stage of the proceedings.

11          As to Plaintiff’s motion for extension of time, Plaintiff alleges that he needs a sixty-day

12   extension because the present COVID-19 modified program/lockdown continues to significantly

13   limit access to the necessary documentation and resources. Additionally, assistance by fellow

14   inmates has been compromised, and Plaintiff is severely limited in his knowledge of the court

15   process. Finally, the revisions Plaintiff needs to make are significant.

16          The Court finds good cause to grant Plaintiff’s motion for an extension of time.

17          For the foregoing reasons, IT IS ORDERED that:

18               1. Plaintiff’s motion for appointment of pro bono counsel is DENIED without

19                  prejudice; and

20               2. Plaintiff has sixty days from the date of service of this order to respond to the

21                  screening order. If Plaintiff needs an additional extension of time, in his motion he

22                  should attach his request for law library access and/or paging services, as well as

23                  the institution’s response to his request.

24
     IT IS SO ORDERED.
25

26      Dated:     December 18, 2020                             /s/
                                                           UNITED STATES MAGISTRATE JUDGE
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